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VIA ECF                                                        January 26, 2022

The Honorable Ona T. Wang
United States District Court for the Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, NY 10007

               Re:       In re Application of Vale S.A. et al., No. 20-mc-199-JGK-OTW

Dear Judge Wang:

       On behalf of Vale S.A., Vale Holdings B.V., and Vale International S.A. (collectively,
“Vale”), we regret having to seek the Court’s assistance in ordering – for the fourth time –
Perfectus Real Estate Corp. (“Perfectus”) to appear for its Rule 30(b)(6) deposition as ordered by
this Court on January 6, 2022, ECF 117, January 13, 2022, ECF No. 122, and January 19, 2022,
ECF No. 124.

        Despite this Court’s multiple orders, Perfectus’s latest tactic has been to advise us that it
will refuse to answer questions related to the majority of the topics set out in Vale’s Notice of
Deposition (Exhibit A). Perfectus has long been aware of these topics as they were largely set
forth in the subpoena for Rule 30(b)(6) testimony that Vale served on Perfectus on December 1,
2021 and subsequently filed with the Court on December 2, 2021. ECF 111, Exhibit 5. While
the Court denied Vale’s request for a deposition at that time without prejudice on the basis that
Vale should first review Perfectus’s additional productions, Your Honor subsequently ordered
the Rule 30(b)(6) deposition of Perfectus on January 6, 2022. ECF 117. Vale thereafter served
Perfectus with an updated subpoena and Notice of Deposition, see Exhibit A, which did not
deviate in substance from the Rule 30(b)(6) topics contained in Vale’s original subpoena that
was submitted to the Court on December 2, 2021. These topics are all well within the scope of
Vale’s § 1782 Application:
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               •   Perfectus’s historic and actual ownership structure and its relationship (if any) to
                   Beny Steinmetz and Dag Cramer, defendants in the underlying English
                   proceedings 1 (Deposition Topics 1, 6-10);

               •   Perfectus’s relationship with David Barnett, counsel and advisor to Mr.
                   Steinmetz (Deposition Topic 11);

               •   Perfectus’s relationship with HFZ Capital Group (and its officers and directors),
                   with whom Perfectus and Steinmetz have both engaged in real estate transactions
                   (Deposition Topics 5, 12);

               •   Any funds paid by Vale to BSG Resources Limited (“BSGR”) that were
                   subsequently invested with or provided in any manner to Perfectus, directly or
                   indirectly (Deposition Topic 4);

               •   Perfectus’s process for collecting and reviewing documents in response to Vale’s
                   subpoena (Deposition Topics 2, 3, 13-16). 2

        Notwithstanding that it has known about and never objected to Vale’s deposition topics
for nearly two months, and that this Court has twice had to order Perfectus to appear for the
deposition, ECF Nos. 117, 122, Counsel for Perfectus several days ago advised Vale that it will
instruct its witness not to testify as to any questions related to topics 4, 6, 7, 8, 9, 10, 11 and 12 at
the deposition, which is scheduled to go forward in a week’s time on February 2 in Milan, Italy.
Counsel for Perfectus has offered no reason why it contends that these topics are not relevant and
has refused Vale’s multiple offers to meet and confer on these topics. Moreover, even though it
is plainly Perfectus’s burden to seek a Protective Order, it has declined to do so. 3

        Given the significant time and expense that will be wasted next week should Perfectus
refuse to answer most questions at its February 2 deposition, as well as the urgency given that
this deposition is already occurring after the start of the English trial (because of Perfectus’s
prior non-compliance and then Vale’s agreement to Perfectus’s request for an extension of the
deposition deadline), Vale respectfully requests that the Court promptly issue yet another order


1
        Claim No. CL-2019-000723 in the High Court of Justice, Business and Property Courts of England and
Wales, Commercial Court (QBD).
2
         Counsel for Perfectus has not indicated its intent to instruct its witness against testifying as to these
particular deposition topics.
3
         See, e.g., Moore’s Federal Practice – Civil § 30.50 (“A party unwilling to comply with a deposition notice
should file a motion for a protective order.”); Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., No. 09
Civ. 3701, 2013 WL 6439069, at *2 (S.D.N.Y. Dec. 9, 2013) (collecting cases and noting that it is the deponent’s
burden to seek a protective order for objections to the scope of the 30(b)(6) deposition notice); Int’l Bhd. of
Teamsters, Airline Div. v. Frontier Airlines, Inc., No. 11-cv-02007, 2013 WL 627149, at *6-7, *9 (D. Colo. Feb. 19,
2013) (finding that the deponent “had the responsibility to file a motion for protective order regarding disputed
issues” as to the scope of topics to be covered in the deposition); New England Carpenters Health Benefits Fund v.
First DataBank, Inc., 242 F.R.D. 164, 166 (D. Mass. 2007) (noting that if the deponent is of the view that the
“deposition notice was defective or improper in some way” or that the information sought was obtainable through
less burdensome means, then it is the deponent’s burden to seek a protective order).
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compelling Perfectus to appear for deposition and answer questions on all of the Rule 30(b)(6)
topics.



                                                  Respectfully submitted,

                                                  /s/ Jeffrey A. Rosenthal
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